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AO 91 (Rev. 02/09) Criminal Complaint ‘United States Courts
Southern District of Texas
UNITED STATES DISTRICT COURT FILED
for the December 01, 2018
Southern District of Texas ;
McAllen Division David J. Bradley, Clerk of Court
United States of America )
v. \ caer, M-\o- adGa-™M
Antonio RAMOS ) ,
(YOB: 1989, United States Citizen) )
)
Defendant
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of November 30, 2018 in the county of Hidalgo in the Southern District of
Texas __, the defendant violated 18 U.S.C. § 554

 

an offense described as follows:

It shall be unlawful for any person to fraudulently or knowingly export or send from the United States, or attempt
to export or send from the United States, any merchandise, article, or object contrary to any law or regulation of
the United States, or receive, conceal, buy, sell, or in any manner facilitates the transportation, concealment, or
sale of such merchandise, article or object, prior to exportation, knowing the same to be intended for exportation
contrary to any law or regulation of the United States, to wit: one hundred and twenty (120) rounds of .243
caliber ammunition, forty (40) rounds of .270 caliber ammunition, forty (40) rounds of 30-30 caliber ammunition,
forty (40) rounds of .300 caliber ammunition, forty (40) rounds of 6.5 caliber ammunition, and forty (40) rounds
of 7 mm caliber ammunition.

This criminal complaint is based on these facts:

. See Attachment A.

{XJ Continued on the attached sheet

/S/ Brian E. Garcia
Complainant’s signature

 

Brian E. Garcia, HSI Special Agent
Printed name and title

 

Sworn to before me and signed in my presence.
Submitted by reliable electronic means, sworn to and attested to electronically per Fed. R. Cr. P.
found on

  

d probgle cause

Date: December 1, 2018

WA udge’s signature
City and state: McAllen, Texas . Scott Hacker, U.S. Magistrate Judge

? Printed name and title

 

 
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Attachment A

On November 30, 2018, United States Customs and Border Protection Officers (CBPOs)
working the outbound travel lane at the Falcon Dam International Port of Entry (POE) in
Falcon Heights, Texas, observed a silver Chevrolet Malibu enter the outbound travel lane
and selected it for inspection. CBPOs identified the driver of the silver Chevrolet Malibu
as Antonio RAMOS. A CBPO obtained a negative declaration for ammunition, firearms,
and monetary instruments in excess of ten thousand United States dollars ($10,000 USD)
from RAMOS.

During the primary outbound inspection, CBPOs observed clothing under the spare tire
located in the trunk; thus, CBPOs escorted RAMOS into the secondary inspection area.
During the secondary inspection, CBPOs discovered-eleven (11) boxes of assorted
ammunition underneath the spare tire, which was concealed by the clothing. Upon further
inspection, two (2) boxes of ammunition were discovered concealed behind the driver’s
side backseat, and three (3) boxes were also discovered concealed underneath the center
console and radio system area. ‘

The total amount of assorted ammunition was three hundred and twenty (320) rounds and
consisted of the following: one hundred and twenty (120) rounds of .243 caliber
ammunition, forty (40) rounds of .270 caliber ammunition, forty (40) rounds of 30-30
caliber ammunition, forty (40) rounds of .300 caliber ammunition, forty (40) rounds of
6.5 caliber ammunition, and forty (40) rounds of 7 mm caliber ammunition.

After notifying Homeland Security Investigations (HSI) Special Agents (SAs) of the
situation, CPBOs proceeded to transport RAMOS to the Roma International POE in
Roma, Texas for further processing. HSI SAs responded to the Roma International POE
to conduct an interview of RAMOS. Prior to being interviewed, RAMOS was read and
explained his rights as per Miranda in the English language by HSI SAs. RAMOS waived
his right to have an attorney present and voluntarily provided a statement.

RAMOS admitted to knowing that smuggling ammunition from the United States was
contrary to United States Law. RAMOS stated that he did have, nor has he ever applied
for a license to export ammunition from the United States into Mexico. RAMOS admitted
to hiding the ammunition to avoid detection by CBPOs.

Ammunition cannot be exported outside of the United States without a license in
accordance with Title 22, United States Code Section 2778 and Title 22 of the Code of
federal regulations. RAMOS does not possess a license to export ammunition.
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Attachment A |

/S/ Brian E. Garcia
Complainant’s Signature

Brian E. Garcia, HSI Special Agent
Printed Name and Title

Sworn to before me and signed in my presence.
Date: December 1, 2018 _ el

dge’s Signature

 

J. Scott Hacker, U.S. Magistrate Judge
City and state: McAllen, Texas Printed Name and Title

 

 
